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   EXHIBIT C
           Redacted version of
               document
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                                                      July 29, 2024

Via Federal Express (via overnight delivery) and Electronic Mail

NFL Players Inc.
1133 20th Street, N.W.
Washington, D.C. 20036

NFL Players Association
1133 20th Street NW
Washington, DC. 20036

OneTeam Partners, LLC
c/o Winston and Strawn
1901 L Street, NW
Washington, DC 20036


               Re:     Notice of Termination

To Whom It May Concern:

              Reference is made to the Amended and Restated License Agreement dated
December 19, 2023 (“Agreement”) by and among DK Crown Holdings Inc., National Football
League Players Association, National Football League Players Incorporated, and OneTeam
Partners, LLC. Terms used but not defined herein have the meanings ascribed to them in the
Agreement.

                On March 9, 2023, a putative class action lawsuit was filed in Massachusetts federal
district court against DraftKings Inc. (an affiliate of Licensee) and three of its officers asserting
claims for violations of federal and state securities laws on the grounds that, among other things,
the non-fungible tokens (“NFTs”) sold and traded on the DraftKings’ Marketplace
(“Marketplace”) are securities that have not been registered in accordance with federal and state
law. The lawsuit seeks, among other things, rescission of every sale of NFTs on Marketplace
between August 11, 2021 and present, including every NFT sold under the Agreement. On July 2,
2024, the district court denied the defendants’ motion to dismiss and, in its ruling, determined that




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